              Case 23-03072-mvl            Doc 105-22 Filed 01/23/25 Entered 01/23/25 18:35:21                     Desc
                                                    Exhibit V Page 1 of 2

      Message
      From:         James Frinzi fi ames@frinzi.netl
/- -' Sent:         3/70/2022 7:28:35 PM
'. To:              Steven Zakharyayev [steven@stevenzlaw. com]i 18920NW@gmai l.com
      Subject       RE: Settlement



      What's the name of the account?


      From: Steven Zakharyayev <steven@stevenzlaw.com>
      Sent: Thursday, March LO,202211:48 AM
      To: James Frinzi <james@frinzi.neD; 18920NW@gmail.com
      Subject: Re: Settlement

                           Wire instructions

                           Bank Account info below:
                           Namc: 18920 NW l lth LLC
                           Address: 2719 Hol|ywood Blvd, Hollywood, FL 33020
                           Routing: 021200339
                           Account# 381 056 749 953

      On Thu, Mar 10, 2022 at 72:47 PM Steven Zakharyayev <steven@stevenzlaw.com>           wrote

       All,


       As a follow up, the parties have agreed to settle the obligations of the promissory note as follows:

                                               i. Assignee (18920) shall release Assignor (GNET) of all obligations
                             arising from the 18920 Note'
                                               ii. Assignor (GNET) shall deliver to Assignee (18920) $14,500,000.
                             ("settlement PaYment")
                                          iii. Assignor shall divide 50% of its interest in the AMRR Note and deliver a
                             promissory note to Assignee in the amount of $22,000,000 payable from AMRR to
                             Assignee.
                                          iv. Assignor shall transfer and Assign all rights and interests in the
                             Trademarks.
                                               v. Assignor shall transfer and Assign all rights and interests in the
                             Licensing Agreement.

                             Proposed agreement is attached




                                     $t*ven Zakharynyev
                                     Managing Attorney, Law Offices Of Steven Zakharyayev
                                     (954) 604-4222 | steven@stevenzlaw.com
                                     Address: 10W.37ih St., #602, NewYork. NY 10018




                                                                                                                       Trustee's
                                                                                                                          V


                                                                                                               APP0307
  CONFIDENTIAL                                                                                                     18920-0000454
            Case 23-03072-mvl   Doc 105-22 Filed 01/23/25 Entered 01/23/25 18:35:21             Desc
                                         Exhibit V Page 2 of 2


                                        $tevan flakharyayev
                                        Managing Attomey, Law Offices Of Steven Zakharyayev
(-                                      P*) 6A4-4222 | steven@stevenzlaw.com
                                        Addr**sr 10 W. 37th St., #602, New York, NY 10018




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                                                                                              APP0308
     CONFIDENTIAL                                                                               18920-0000455
